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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,

                             Plaintiffs,
                      v.                        Case No. 22-cv-0098-WMW-JFD
 MICHAEL J. LINDELL and MY
 PILLOW, INC.,

                             Defendants.


                       PLAINTIFFS’ MOTION TO COMPEL

       Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited (collectively, “Smartmatic”), by and through their undersigned

counsel, hereby move this Court for an order:

       1.     Compelling Defendants to provide amended responses to Request for

Production (“RFP”) Nos. 3, 4, 5, 6, 9, 11, 12, 13, 14, 15, 16, and 18 of Smartmatic’s First

Set of Requests for Production Directed to Defendants Michael J. Lindell and My Pillow,

Inc., in which, pursuant to Federal Rule of Civil Procedure 34(b)(2)(C), they identify the

portion of the RFP that they deem objectionable and will not comply with, if any, and agree

to permit inspection of the remainder of the requested documents;

       2.     Compelling MyPillow to provide amended responses to RFP Nos. 28 and

29 in Plaintiffs’ Second Set of Requests for Production Directed to Defendant My Pillow,
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Inc., in which, pursuant to Federal Rule of Civil Procedure 34(b)(2)(C), it identifies the

portion of the RFP that it deems objectionable and will not comply with, if any, and agree

to permit inspection of the remainder of the requested documents;

       3.      Compelling Defendants to produce all non-privileged documents in their

possession, custody, or control that are responsive to RFP No. 1 of Smartmatic’s First Set

of Requests for Production Directed to Defendants Michael J. Lindell and My Pillow, Inc.;

       4.      Compelling Defendants to fully and completely answer Interrogatory Nos. 1,

9, 15 of Smartmatic’s First Set of Interrogatories Directed to Defendants Michael J. Lindell

and My Pillow, Inc.; and

       5.      Compelling MyPillow to fully and completely answer Interrogatory Nos. 18,

19, and 22, of Smartmatic’s Second Set of Interrogatories Directed to Defendant My

Pillow, Inc.

       This reasons for this motion are set forth in Smartmatic’s Memorandum of Law In

Support of Plaintiffs’ Motion to Compel and accompanying exhibits.

Dated: February 1, 2023                       Respectfully submitted,

                                              /s/ Michael E. Bloom

                                              Christopher K. Larus
                                                Minnesota Bar No. 0226828
                                                CLarus@robinskaplan.com
                                              William E. Manske
                                                Minnesota Bar No. 0392348
                                                WManske@robinskaplan.com
                                              Emily J. Tremblay
                                                Minnesota Bar No. 0395003
                                                ETremblay@robinskaplan.com
                                              ROBINS KAPLAN LLP

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                              800 LaSalle Avenue, Suite 2800
                              Minneapolis, MN 55402
                              Telephone: (612) 349-8500

                              J. Erik Connolly (admitted pro hac vice)
                                  EConnolly@beneschlaw.com
                              Illinois ARDC No. 6269558
                              Nicole E. Wrigley (admitted pro hac vice)
                                  NWrigley@beneschlaw.com
                              Illinois ARDC No. 6278749
                              Michael E. Bloom (admitted pro hac vice)
                                  MBloom@beneschlaw.com
                              Illinois ARDC No. 6302422
                              Julie M. Loftus (admitted pro hac vice)
                                  JLoftus@beneschlaw.com
                              Illinois ARDC No. 6332174
                              BENESCH, FRIEDLANDER, COPLAN
                              & ARONOFF LLP
                              71 South Wacker Drive, Suite 1600
                              Chicago, IL 60606
                              Telephone: (312) 212-4949

                              Attorneys for the Plaintiffs




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